          Exhibit 69




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              IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
          CIVIL ACTION NO. 1:14-CV-00954-LCB-JLW

STUDENTS FOR FAIR
ADMISSIONS, INC.,
                           Plaintiffs,
      vs.
UNIVERSITY OF NORTH
CAROLINA, et al.,
                           Defendants.




                 _______________________________
                           DEPOSITION
                               OF
                         CAROL LYNN FOLT
                 _______________________________



TAKEN AT THE OFFICES OF:
UNIVERSITY OF NORTH CAROLINA AT CHAPEL HILL
222 East Cameron Avenue
110 Bynum Hall
Chapel Hill, NC 27514


                               05-31-17
                               8:32 A.M.
                    __________________________
                          Cindy A. Flethcer
                           Court Reporter

                    Civil Court Reporting, LLC
                            P.O. Box 1146
                        Clemmons, NC 27012
                         (336) 406-7684



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  Carol Lynn Folt                                                      Page 7
 1                     The witness, CAROL LYNN FOLT, being
 2         first duly sworn to state the truth, the whole
 3         truth, and nothing but the truth, testified as
 4         follows:
 5               (8:32 a.m.)
 6                                 EXAMINATION
 7         BY MR. STRAWBRIDGE:
 8               Q.    Good morning ---
 9               A.    Good morning.
10               Q.    --- Ms. Folt.      How are you?      My name is
11         Patrick Strawbridge.        I'm with the law firm of
12         Consovoy McCarthy Park.        We represent Students for
13         Fair Admissions in this case.
14                     Could you just state your name and your
15         business address for the record?
16               A.    Carol Folt.      My business address is
17         South Building at the University of North Carolina
18         at Chapel Hill.
19               Q.    And your title is?
20               A.    Chancellor at the University.
21               Q.    I just want to go over a few ground
22         rules that I'm sure your attorneys have covered.
23         Have -- have you actually ever been deposed
24         before?
25               A.    I have.



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   1              testify about why the University uses race in

   2              admissions and how it serves the University's

   3              goals?

   4                         A.   I'm not aware of the specific nature in

   5              which I've been selected here.        You know, I mean

   6              the details of that, why I'm selected here, I

   7              don't know those specifically, but I do understand

   8              my role here as chancellor.

   9                         Q.   Are you familiar with the general

 10               reasons as to why the University uses race in

 11               admissions?

 12                          A.   Yes.

 13                          Q.   And are you familiar with what the

 14               University's goals are with the extent to its use

 15               of race?

 16                          A.   In general.

 17                          Q.   Okay.   Well, let's just -- actually, as

 18               chancellor, what is your general job description?

 19                          A.   You know, I'm the -- in a way, I'm the

 20               CEO of the institution so I am the person who is

 21               the outward face and I am the person through which

 22               the various vice chancellors and chancellors

 23               report and I have the obligations to the

 24               University and then I also have obligations to the

 25               system.

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   1                         Q.   And do your -- does your oversight of

   2              the University extend to the admissions office?

   3                         A.   In a general way.   They don't report to

   4              me directly.

   5                         Q.   Okay.   Are you familiar with what the

   6              reporting line is for the admissions office?

   7                         A.   In general.

   8                         Q.   Okay.   Can you describe that for me?

   9                         A.   Reports up through the provost.

 10                          Q.   Okay.   So you're familiar with

 11               Mr. Farmer?

 12                          A.   Yes, I am.

 13                          Q.   Okay.   And -- and he reports directly to

 14               the provost?

 15                          A.   Yes, he does.

 16                          Q.   And the provost is who?

 17                          A.   James Dean.

 18                          Q.   And then Mr. Dean reports to you?

 19                          A.   Yes.

 20                          Q.   Okay.   Who do you report to?

 21                          A.   I report to Margaret Spellings, the

 22               president of the University of North Carolina

 23               system.

 24                          Q.   Okay.   And then do you have any -- any

 25               responsibility or at least any -- do you report to

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   1              the Board of Governors of the University?

   2                         A.   I report to the president.    She has the

   3              Board of Governors that direct her.

   4                         Q.   Okay.   Is there a separate Board of

   5              Trustees?

   6                         A.   There is a Board of Trustees also.

   7                         Q.   Can you tell me what the difference is

   8              between the Board of Governors and the Board of

   9              Trustees?

 10                          A.   Well, the Board of Governors is the

 11               actual governing body.         They have certain jobs and

 12               things that they give delegated authority to the

 13               Board of Trustees, and the Board of Trustees does

 14               those in their name.

 15                          Q.   Okay.   So do the Board of Trustees

 16               ultimately report to the Board of Governors?

 17                          A.   You know, I've never seen it described

 18               as a reporting relationship.

 19                          Q.   But -- but the -- your testimony is that

 20               the Governors delegate some tasks to the Trustees.

 21                          A.   Absolutely.

 22                          Q.   And does it work the other way around?

 23               Do the Trustees delegate anything to the

 24               Governors?

 25                          A.   No, it's ---

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   1                                   MR. SCUDDER:   Object to the form of

   2              the question.        Go ahead.

   3                         A.   Yeah.   The Governors are in charge of

   4              the University system.

   5                         Q.   (Mr. Strawbridge)   Who's responsible for

   6              setting admissions policy at the University of

   7              North Carolina?

   8                         A.   The University -- the separate

   9              educational entities.

 10                          Q.   Okay.   So in other words the -- the

 11               admissions policy at UNC Chapel Hill is ultimately

 12               set by the administration at the campus as opposed

 13               to the Board of Governors?

 14                          A.   Believe so.

 15                          Q.   And to your understanding, why is it

 16               that UNC uses race in the admissions process?

 17                                    MR. SCUDDER:   Object to the form.

 18               Go ahead.

 19                          A.   I believe and based on my experience

 20               here and in the time I've been here that we use a

 21               very broad holistic comprehensive approach to

 22               admissions.        And it has many, many factors, many

 23               features.        And so we use that approach to try to

 24               assess each individual separately, individually

 25               based on their strengths and use it to determine

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   1              comprehensive way.

   2                         Q.   Are there -- are there reports generated

   3              that reflect the extent to which the University

   4              has achieved a critical mass?

   5                         A.   No, I don't think we ---

   6                                   MR. SCUDDER:   Objection; same --

   7              asked and answered.

   8                         A.   Yeah, and I don't think we characterize

   9              it in that -- in a simple metric like that.

 10                          Q.   (Mr. Strawbridge) If their -- if the

 11               University -- strike that.

 12                               In your mind, when would it be

 13               appropriate for the University to stop using race

 14               in the admissions process?

 15                          A.   You know, I would turn to all of these

 16               metrics and say are we achieving the best possible

 17               outcomes?        Are we creating a university that

 18               reaches across all diverse categories as

 19               representative of our capacity to be of and for

 20               the people of the State of North Carolina is

 21               creating the best possible outcome so that our

 22               students are getting the jobs of the future.

 23                               That is doing -- you know, it has all of

 24               those components so, you know, it'd be a

 25               complicated, long analysis.         People have looked at

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   1              determine that question?

   2                                   MR. SCUDDER:   Object to the form.

   3                         A.   I don't believe we have a definition of

   4              critical mass, and we aren't -- we don't -- I

   5              don't believe we have analysis of that.             I don't

   6              know of anything like that.

   7                         Q.   (Mr. Strawbridge)   Is the use of race at

   8              the -- in the admissions process designed to

   9              achieve some critical mass of racial minorities on

 10               campus?

 11                                    MR. SCUDDER:   Objection.

 12                          A.   You know, it's one of the many criteria

 13               that we use to create a situation where we think

 14               that all of our students can thrive and realize

 15               the educational benefits of diversity that exist

 16               in the world from which they come and the world to

 17               which they will be working and going.

 18                          Q.   (Mr. Strawbridge)   But to your

 19               understanding, like, do you think that obtaining

 20               -- or achieving a critical mass of -- of students

 21               of a particular race is one of the purposes of the

 22               use of race in your admissions process?

 23                          A.   You know, I don't find that term very

 24               useful because I don't know what that means.

 25                          Q.   Is the use of race at UNC in the

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